        20-01902-JAW Dkt 3 Filed 07/08/20 Entered 07/08/20 15:02:42 Page 1 of 1




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BRENDA GARRETT REED
1828 HEATHER DRIVE
VICKSBURG, MS 39183



ROBERT REX MCRANEY JR
MCRANEY & MCRANEY
POST OFFICE DRAWER 1397
CLINTON, MS 39060


CREDIT ONE BANK
ATTN: BANKRUPTCY DEPARTMENT
PO BOX 98873
LAS VEGAS, NV 89193


EXETER FINANCE LLC
ATTN: BANKRUPTCY
PO BOX 166008
IRVING, TX 75016


FORTIVA
ATTN: BANKRUPTCY
PO BOX 105555
ATLANTA, GA 30348


FRANKLIN COLLECTION SERVICE, INC.
2978 WEST JACKSON STREET
PO BOX 3910
TUPELO, MS 38801


MERIT HEALTH
PATIENT SERVICE CENTER
PO BOX 321359
FLOWOOD, MS 39232


TOWER LOAN
ATTN: BANKRUPTCY
PO BOX 320001
FLOWOOD, MS 39232
